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5    Attorney for Defendant
     DISHAN PERERA
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8
                                     UNITED STATES DISTRICT COURT
9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                          No. 10-CR-347 MCE
12
                        Plaintiff,                      STIPULATION AND ORDER FOR
13                                                      CONTINUANCE OF SENTENCE AND
            v.                                          SCHEDULE FOR DICLOSURE
14
     DISHAN PERERA,
15
                        Defendant.
16

17          IT IS HEREBY stipulated between the United States of America through its undersigned

18   counsel, Assistant United States Attorney Jill Thomas, defendant DISHAN PERERA through his

19   undersigned counsel Dwight Samuel that the scheduled sentencing date and schedule for disclosure
20   dates be changed to the following:
21
            Judgement and sentencing date be changed from December 4, 2012 to February 12, 2015.
22
            The following schedule for disclosure of pre-sentence report and for filing of objections to
23
     the presentence report it is agreed to be as follows:
24

25          Reply or statement of non-opposition                                February 5, 2015

26          Motion for correction of Pre-Sentence report filed                  January 29, 2015

27          Pre-Sentence report filed                                           January 22,2015
28
            Counsel’s written objections to the pre-sentence to probation       January 15, 2015

                                                             1
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1
            Proposed Pre-sentence report disclosed to counsel                    done
2
            Counsel has seen Mr. Perera on one occassion to date to review the PSR and now needs
3
     additional time to complete the interveiw and response if needed. The reason for this request is that
4
     Mr. Dishan Perera’s counsel’s schedule and defendants placement in the Nevada County Jail require
5
     taking one half day out of Counsels schedule. Counsel now needs addtional time to further discuss
6
     Pre-sentence report.
7           Accordingly, the parties respectfully request the Court adopt this proposed stipulation, vacate
8
     the present date for sentence of December 4, 2014 and adopt the above enumerated shedule for
9
     disclosure and response to the Pre-sentence report.
10

11          So stipulated,
12
            Date: November 11, 2014                                       /s/ Dwight M. Samuel
13                                                                Dwight M. Samuel
14                                                                Attorney for Defendant
                                                                  DISHAN PERERA
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16
            Date: November 11, 2014                                       /s/
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                                                                  Assistant U.S. Attorney
18                                                                Jill Thomas

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1                                                    ORDER
2

3           The Court, having received, read, and considered the stipulation of the parties, and good

4    cause appearing therefrom, adopts the stipulation of the parties in its entirety and it is so order

5           Based on the stipulation of the parties and the recitation of facts contained therein, the Court
6    finds that the failure to grant a continuance in this case would deny defense counsel reasonable time
7
     necessary for effective preparation, taking into account the exercise of due diligence. The Court finds
8
     that the ends of justice to be served by granting the requested continuance outweigh the best interests
9
     of the public and the defendants in a speedy trial.
10

11          It is further ordered that the December 4, 2014 date for sentencing shall be continued to

12   February 12, 2015, at 9:00 a.m.

13          IT IS SO ORDERED.
14
     DATED: November 20, 2014
15

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                                             _____________________________________________
17                                           MORRISON  N C. ENGLLAND, JR, C
                                                                          CHIEF JUDG  GE
                                             UNITED ST TATES DISSTRICT COU  URT
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